IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF DELAWARE

MAKOR ISSUES & RIGHTS, LTD., )
Plaintiff,

V. Civil Action No. 16-100-CFC
GOOGLE LLC and WAZE, INC., 5
Defendants. 5

ORDER

WHEREAS Defendants Google LLC and Waze, Inc. moved for judgment in
their favor on the pleadings based on the asserted patent’s lack of patent-eligible
subject matter under 35 U.S.C. § 101, and

WHEREAS, the Court studied the parties’ briefing on the motion and held
oral argument on the motion on September 30, 2020;

NOW THEREFORE, at Wilmington on this Thirtieth day of September in
2020, for the reasons stated during the oral argument, the Motion (D.I. 84) is

GRANTED.

CL AY

United States District Jugge”
